                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

United States of America
ex rel. Rayme M. Edler, M.D.
       Plaintiffs,
v.                                            Case 3:20-cv-05503-RV-HTC

Escambia County
     Defendant.

_____________________________/



           PLAINTIFF RELATOR’S MEMORANDUM OF LAW
       IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS

      Dr. Edler alleged Escambia County submitted claims for payment to the

government for emergency medical transportation despite knowing that many

employees who provided those services were not certified as Medicare and Florida

require. Each claim related to these services is a false claim under the False Claims

Act. 31 U.S.C. §§ 3729 et seq.

      Four county officials identified in the Complaint as leading the frauds have

been arrested and charged with felonies and misdemeanors related to the

allegations raised by Dr. Edler. One has already pleaded no contest to falsifying the

exact EMT and paramedic certificates at issue here. The others’ cases are pending.
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      Escambia’s Motion should be denied because the Complaint pleads facts

with particularity that present a “plausible” claim for relief under the False Claims

Act, as required by Federal Rules 8(a), 9(b), 10(b) and 12(b)(6). In addition,

Defendant’s public disclosure argument is completely without merit as it is

premised on an old and inapplicable version of the statute.

     I. There has been no public disclosure.

     Defendant’s Rule 12(b)(1) motion to dismiss the Complaint “to the extent

that” the allegations are “based” on publicly disclosed information is a non-starter.

Defendant’s motion is premised on the wrong statute, the wrong Federal Rule, the

wrong standard, and the wrong caselaw. The current version of the False Claims

Act (“FCA”) provides:

      (e)(4)(A) The court shall dismiss an action or claim under this section,
      unless opposed by the Government, if substantially the same
      allegations or transactions as alleged in the action or claim were
      publicly disclosed—
             (i) in a Federal criminal, civil, or administrative hearing in which
             the Government or its agent is a party;
             (ii) in a congressional, Government Accountability Office, or
             other Federal report, hearing, audit, or investigation; or
             (iii) from the news media, unless the action is brought by the
             Attorney General or the person bringing the action is an original
             source of the information.

31 U.S.C. § 3730(e)(4) (emphasis supplied).


                                              1
      However, the entirety of Defendant’s argument is based on the pre-2010

version of this statute which provided that “[n]o court shall have jurisdiction over

an action under this section based upon the public disclosure of allegations or

transactions . . . .” Pre-2010 version of 31 U.S.C. § 3730(e)(4)(A) (emphasis

supplied). The current statutory test is whether “substantially the same allegations

or transactions as alleged in the action or claim were publicly disclosed.” 31 U.S.C.

§ 3730(e)(4)(A). Defendant’s mistake is but one reason this portion of the motion

must be denied.1

      First, the public disclosure bar is no longer jurisdictional. U.S. ex rel.

Osheroff v. Humana Inc., 776 F.3d 805, 810 (11th Cir. 2015) (“We conclude that

the amended § 3730(e)(4) creates grounds for dismissal for failure to state a claim

rather than for lack of jurisdiction.”). There is no viable Rule 12(b)(1) motion here.

This change from 12(b)(1) to 12(b)(6) is a difference that matters. Post-2010, the

burden is on the defendant to prove their defense. Id. (approvingly quoting one of

several decisions describing the post-2010 public disclosure bar as “effectively an

affirmative defense.”)




1
    100% of Defendant’s authorities pre-date the operative amendments. In fact,
Defendant quotes from the wrong version of the statute when purporting to
define an “original source.” ECF 20 at 7.

                                              2
      Second, even applying the correct test and the correct Rule, there has been

no public disclosure here. Defendant’s recitation of the legal test for public

disclosure is woefully incomplete.2 The Cooper test is still a valid starting point,

but it is far from the end of the analysis. The Cooper test first asks:

      (1) have the allegations made by the plaintiff been publicly disclosed;
      (2) if so, is the disclosed information the basis of the plaintiff's suit;
      (3) if yes, is the plaintiff an ‘original source’ of that information.

U.S. ex rel. Bibby v. Mortg. Invs. Corp., 987 F.3d 1340, 1353 (11th Cir.

2021), quoting Cooper v. Blue Cross & Blue Shield of Fla., Inc., 19 F.3d 562, 565

n.4 (11th Cir. 1994) (per curiam) cert. denied, No. 20-1463, 2021 WL 1951877

(U.S. May 17, 2021).

     “So, under the Cooper framework, the first prong becomes dispositive where

the plaintiff's allegations have not been publicly disclosed.” Bibby, 987 F.3d at

1353. To analyze this issue under the current statute, the Eleventh Circuit has

adopted the D.C. Circuit’s Springfield formula for determining whether the

allegations of fraud which support a Relator’s claim have been publicly disclosed.


2
     Defendant’s reliance on “based in any part” from U.S. ex rel. Brown v. Walt
Disney World Co., 361 F. App’x 66, 68 (11th Cir. 2010) is misplaced. Brown no
longer comports with the statutory text and the law of this Circuit. The statute now
permits qui tam suits to proceed unless “substantially the same allegations or
transactions as alleged in the action or claim were publicly disclosed.” 31 U.S.C. §
3730(e)(4)(A) (emphasis added). The old, pre-2010 text barred suits “based upon the
public disclosure” which is the source of the “based in any part” language in Brown.

                                               3
      Under that formula, one generally must present a submitted statement
      or claim (X) and the true set of facts (Y), which shows that X is untrue.
      These two things together allow the conclusion (Z) that fraud has
      occurred. There is no allegation of fraud under this formula unless each
      variable is present. Where only one element of the fraudulent
      transaction is in the public domain (e.g., X), the qui tam plaintiff may
      mount a case by coming forward with either the additional elements
      necessary to state a case of fraud (e.g., Y) or allegations of fraud itself
      (e.g., Z).

Id. (internal citations and quotations omitted); see also U.S. ex rel. Springfield

Terminal Ry. Co. v. Quinn, 14 F.3d 645, 649 (D.C. Cir. 1994).

      Here, Defendant has failed to do anything other than recite an incomplete

version of the Cooper test. Defendants do not actually assert or point the Court to

the existence of ANY public disclosure—making it impossible for the Court to

find that any information in the public domain is an “allegation” under the

Springfield test.

      At worst, the Complaint includes a reference to public reporting that

documents Dr. Edler’s pre-suit disclosure of information to various governmental

authorities and the criminal enforcement activities that resulted from Relator’s

original information.3 Compl. at ¶¶ 40, 72–73. These activities do not support



3
      “The reason for the public disclosure bar is fairly obvious. Without it,
opportunistic relators—with nothing new to contribute—could exploit the FCA's
qui tam provisions for their personal benefit.” Bibby, 987 F.3d at 1353. This is not
a concern here where any assertedly public disclosure originated with Relator.

                                              4
Defendant’s motion and instead comport with Dr. Edler’s status as an original

source. 31 U.S.C. § 3730(e)(4).

     The Complaint cites two news articles but neither disclose the X, Y, and Z of

the fraud allegation. The first reported Escambia’s substandard emergency care and

noted only that Dr. Edler questioned how training was done.4 The word “fraud”

does not appear in the article. Nor is there any mention of the government

receiving or paying any bills for emergency services or of training, licensing, or

certifications being falsified. The second article reports only that four Escambia

employees had been arrested and charged with falsifying emergency services

training records.5 Again, there is no mention of billing, invoicing, or payments.

None of these articles are an “allegation” of the fraud which might support the

existence of a public disclosure. Bibby, 987 F.3d at 1354 (holding the disclosure of

the amount of an alleged overcharge did not “publicly disclose the ‘allegations.’).

Here, no claims—much less any false claims plus the true facts—were publicly

disclosed.



4
    See Compl. at ¶ 40 citing Jim Little, Pensacola Nurse Fights to Change EMS
Policies After Video of Son’s Care at Crash Scene, Pensacola News J. (Apr. 30,
2019), https://www.pnj.com/story/news/2019/04/30/escambia-county-ems-nurse-
fights-change-after-video-sons-care-crash/3586888002.
5
    See Compl. at ¶ 73.

                                             5
     Defendant references allegations which pre-date Dr. Edler’s employment with

Escambia. But it provided no indicia that this knowledge came from the narrow set

of sources statutorily defined as public disclosures: “a Federal criminal, civil, or

administrative hearing in which the Government or its agent is a party . . . or other

Federal report, hearing, audit, or investigation[,] or from the news media.” 31

U.S.C. § 3730. Without pointing the Court to any source—much less a source

defined by statute as a public disclosure—Defendant has failed to carry its burden

as to this portion of its argument.

     The claims raised in the Compliant are not “substantially the same” as any

“allegations or transactions” which have been publicly disclosed and the motion

must be denied as a matter of law. 31 U.S.C. § 3730(e)(4)(A).

     II.      Even if there were a public disclosure, Relator is an original
           source.
     Even if the Court were to determine that “substantially the same allegations or

transactions as alleged in the action or claim were publicly disclosed”—which they

were not—the Court would still be required to deny the motion because Relator is

an original source. The FCA explicitly permits the maintenance of qui tam suits

where the Relator is an “original source” which is defined as a person who:

      either (i) prior to a public disclosure under subsection (e)(4)(a), has
      voluntarily disclosed to the Government the information on which
      allegations or transactions in a claim are based, or (2) who

                                              6
       has knowledge that is independent of and materially adds to the
       publicly disclosed allegations or transactions, and who has voluntarily
       provided the information to the Government before filing an action
       under this section.
31 U.S.C. § 3730(e)(4)(b). Here, Relator meets both prongs of the disjunctive

statutory test.6

     As alleged, Dr. Edler reported the frauds beginning in March 2019, before the

first of the articles cited in the Complaint were published. Compl. at ¶¶ 4, 61–62,

64–65.7 The Complaint also specifically alleges that Relator “voluntarily disclosed

. . . to the Government before filing[]” exactly as required by the statute. Id. at ¶ 4.

Because the well pleaded facts which appear in the Complaint must be accepted as

true, there is simply no basis for Defendant’s motion with respect to Dr. Edler’s

status as an original source. See Bourff v. Rubin Lublin, LLC, 674 F.3d 1238, 1240

(11th Cir. 2012) (requiring pleaded facts to be construed in favor of the plaintiff).

       III.   The Complaint is not an impermissible “shotgun” pleading.

     Defendant argues the Complaint is a “shotgun pleading.” ECF 20 at 5–7. It is

not. A shotgun pleading is one that is “calculated to confuse the ‘enemy,’ and the



6
      Defendant has not identified any materials it contends “counts” as a public
disclosure. Consequently, we assume, arguendo, the news articles cited in the
Complaint are the basis for Defendant’s argument.
7
     See also Little, supra note 4.

                                               7
court, so that theories for relief not provided by law and which can prejudice an

opponent’s case...can be masked.” Weiland v. Palm Beach Cty. Sheriff’s Office,

792 F.3d 1313, 1320 (11th Cir. 2015). The Complaint here contains no such

extralegal theories of recovery nor has Defendant identified any. Typically, a

shotgun pleading contains a variety of contract and tort claims interwoven in a

haphazard fashion. See id. The Complaint has none of these.

     A paradigmatic shotgun pleading makes it “impossible for any Defendant to

reasonably frame an answer.” Jackson v. Bank of Am., N.A., 898 F.3d 1348, 1352

(11th Cir. 2018). See Weiland at 1325 (same). Importantly, nowhere does

Defendant claim any pleading deficiency has prevented it from “reasonably

fram[ing] an answer.” Id. Instead, Defendant simply declares the Complaint a

“shotgun pleading.”

     In fact, the closest Defendant comes to explaining the asserted shortcomings

are to note that the Complaint contains a standard incorporation clause before each

cause of action and uses “ambiguous language” to describe the nature of the

retaliation Relator suffered. ECF 20 at 5–6. These nits do not make the Complaint

an impermissible shotgun pleading. Indeed, the Eleventh Circuit in Weiland

distinguished between improper incorporation clauses which roll the distinct

allegations of one count “into every successive count on down the line” and the


                                             8
proper incorporation of a well pleaded and well-organized “facts” section into the

individual causes of action. Weiland, 792 F.3d at 1324. The Complaint utilizes the

proper version of incorporation clauses and not the impermissible version.

     Defendant is right that Rule 10(b) requires that “each claim founded on a

separate transaction or occurrence . . . must be stated in a separate count or

defense[]” but only “[i]f doing so would promote clarity[.]” (emphasis supplied).

The Complaint raises three interrelated claims all under the FCA:

   • Escambia submitted false claims for payment for emergency services
     rendered by uncertified employees, 31 U.S.C. § 3729(a)(1)(A). ECF 1,
     Complaint ¶¶ 83 and 84.

   • Escambia made, used, or caused to be made or used false records or
     statements related to its false claims, 31 U.S.C. § 3729(a)(1)(B). Id. ¶¶ 85
     and 86.

   • Escambia unlawfully retaliated against Dr. Edler after she attempted to stop
     or report the ongoing frauds, 31 U.S.C. § 3730(h). Id. ¶¶ 87–90.

     Adding more headers to designate each of the three claims their own “Count”

would fail to add significant clarity to the allegations. This is true in part because

each claim is founded on the same transactions and occurrences. See F.R.C.P.

10(b).

     The FCA makes it unlawful to submit a false claim to the government, but it

is also a violation of the FCA to make or use false documents in support of a claim.

Escambia has done both. In fact, Defendant’s scheme to create false documents


                                               9
(false EMT and paramedic certificates) is at the heart of its false claims and the

allegations and claims in the Complaint.

     Instead of training and certifying emergency services personnel, Escambia

created fake records which created the false impression that proper certification

had occurred when it had not. Complaint at ¶¶ 48–68, 72. Escambia not only

permitted its uncertified employees to render emergency services, it also billed the

government for the provision of those services. Id. at ¶¶ 76–77.

     In connection with those bills, Escambia lied and falsely certified that the

billed services complied “with all applicable Medicare and/or Medicaid laws,

regulations, and program instructions.” See Sample CMS Claim Form8, and Compl.

at ¶ 19, citing 42 U.S.C. § 1320a-7b(a)(1)–(2) (prohibiting false statements or

misrepresentations of material facts concerning payment requests). Medicare only

pays for emergency services rendered by persons credentialed in accordance with

state law, and Florida requires the very training and certification many Escambia’s

employees did not have. 42 C.F.R. § 410.41(b); Fla. Stat. § 401.27(1). Escambia’s

claims for payment, knowingly made in reliance on the falsified training records,

are each a false claim under 31 U.S.C. § 3729(a)(1)(A). And, because the falsified

8
       CTRS. FOR MEDICARE & MEDICAID SERVS., Sample Claim Form, available at
https://www.cms.gov/Medicare/CMS-Forms/CMS-
Forms/Downloads/CMS1500.pdf (last visited June 14, 2021).

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training documents and certifications are “material” to Escambia’s claims, those

documents also violate Section 3729(a)(1)(B).

        The first two claims, violation of 31 U.S.C. § 3729(a)(1)(A) and

§ 3729(a)(1)(B) arise out of the same scheme, transactions, and occurrences. See

F.R.C.P. 10(b). As such, they need not be pleaded under separate headings.

        Unlike many FCA cases, here the facts underlying the false claims for

payment are inextricably bound with the false records or statements. The claims

for payment are false because of the County’s false certifications to Medicare that

it complies with Medicare’s laws, regulations, and program instructions. Compl. at

¶ 20.

        As to the third claim, unlawful retaliation against Dr. Edler in violation of 31

U.S.C. § 3730(h), the Complaint narrates how Dr. Edler learned of Defendant’s

scheme, Compl. at 7–17, and how the county retaliated against her when the

responsible people sought to hide their alleged crimes. Compl., ¶¶ 70, 79–81

(under subtitle “Escambia County retaliated against Dr. Edler”).9 The grouping of



9
       One of the then-alleged felons has since pled no contest to two
misdemeanors. Exhibit 1, Stephen White Order of Judgment and Sentence. The
others’ cases are pending. Exh. 2, Criminal Dockets for Stephen White (showing
seventeen charges and plea of no contest for two misdemeanors); James Bonoyer
(fifty-seven charges); Leon Salter (ten charges); Katherine Kenney (fifteen
charges).

                                                11
these paragraphs under a subtitle gives Escambia adequate notice of this claim.

Weiland, 792 F.3d at 1321–23.

     Defendant’s Motion relies on cases with multiple defendants and many

claims.10 In contrast, Dr. Edler has raised claims against a single defendant for false

claims, false statements, and its retaliation against her. The simple complaint poses

no unnecessary burden on the litigants or judicial resources. In a recent case, a

plaintiff sued five defendants alleging violations under 42 U.S.C § 1983, 42 U.S.C.

§ 1985, and a state law conspiracy to commit First Amendment retaliation. Seals v.

Leath, No. 3:19-cv-468-ALB-JTA, 2019 U.S. Dist. LEXIS 219240, at *17 (M.D.

Ala. Dec. 18, 2019). Notwithstanding the greater complexity, that court considered

and rejected the defendant’s “shotgun” motion to dismiss. Here, as in Seals, “[i]t is

far from impossible to know which allegations of fact are intended to support

which claims; indeed, it isn't even difficult.” Id. (emphasis supplied).

10
       Tavantzis v. Am. Choppers, No. 6:14-cv-1519-Orl-40TBS, 2015 WL 6736753
(M.D. Fla. Nov. 4, 2015) (more than twenty-five defendants represented by six law
firms); Fikes v. City of Daphne, 79 F.3d 1079, 1080 (11th Cir. 1996) (seven defendants
and claims under First, Fifth, Ninth and Fourteenth Amendments to the United States
Constitution); Anderson v. Dist. Bd. of Trustees of Cent. Fla. Cmty. College, 77 F.3d
364, 366–67 (11th Cir. 1996) (six counts); U.S. ex rel. Lorona v. Infilaw Corp., No.
3:15-cv-959-J-34PDB, 2019 WL 3778389, at *1 (M.D. Fla. Aug. 12, 2019) (five
defendants, five counts); United States v. Choudhry, 262 F.Supp.3d 1299, 1306 (M.D.
Fla. 2017) (10 defendants, 2 distinct kickback schemes); Weinerth v. Ayers, No. 2:10-
cv-170-FtM-29SPC, 2010 WL 4955836, at *3 (M.D. Fla. Dec. 1, 2010) (two
defendants, federal allegations, and two factually and legally distinct state claims).

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     The real issue is whether this sole defendant is on notice of the claims against

it. Bailey v. Janssen Pharmaceutica, Inc., 288 Fed. Appx. 597, 603 (11th Cir.

2008). See also Crispell v. Fla. Dept. of Children & Families, No. 8:11-cv-1527-T-

30EAJ, 2012 U.S. Dist. LEXIS 116965, at *5 (M.D. Fla. Aug. 20, 2012) (rejecting

“shotgun” characterization as the complaint sufficiently put defendant on notice of

the claims against it).

     Finally, by arguing that only the retaliation claim is implausible (see below),

Defendant admits that the other claims are plausible, and sufficient to put it on

notice of the claims against it.

      IV.    The Retaliation Claim is Plausible.

     Defendant argues the retaliation claim (but not the rest of the Complaint) is

implausible. ECF 20 at 12–14. To grant Defendant’s 12(b)(6) Motion, this Court

must conclude that Relator’s retaliation allegations do not even “suggest” the

possibility that a jury could believe them to be true. Bell Atl. Corp. v. Twombly, 550

U.S. 544, 556 (2007).

     The Eleventh Circuit has not yet determined if the 2010 amendments to the

FCA necessitate a change in the pleading standard which applies to FCA retaliation

claims. However, that Court has twice noted the Fourth Circuit’s decision in U.S.

ex rel. Grant v. United Airlines, Inc., 912 F.3d 190, 203 (4th Cir. 2018). See


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Hickman v. Spirit of Athens, Alabama, Inc., 985 F.3d 1284, 1288 (11th Cir. 2021);

Brown v. Morehouse Coll., 829 F. App’x 942, 945 (11th Cir. 2020).11

       Under Grant,

       to sufficiently plead a § 3730(h) retaliation claim and thus survive a
       motion to dismiss, a plaintiff must allege facts sufficient to support a
       “reasonable inference” of three elements: (1) he engaged in protected
       activity; (2) his employer knew about the protected activity; and (3)
       his employer took adverse action against him as a result.

Grant, 912 F.3d at 200 (holding the heightened pleading standard of Rule 9(b)

does not apply) (internal citation omitted).

       The Complaint easily meets this standard here. The FCA protects an

employee who takes “lawful acts . . . in furtherance of an [FCA] action . . . or other

efforts to stop 1 or more violations of [the FCA].” 31 U.S.C. § 3730(h)(1). The

Complaint alleges several actions Dr. Edler took both to further this case and as

part of her attempt to stop violations of the FCA. The Complaint also alleges that

Defendant knew and then took adverse action against her as a result. Compl. ¶¶ 47,

51-52, 56-57, 62-67, 70, 79–81.




11
      This Circuit’s District Courts’ decisions rendered after Hickman appear to adopt
the standard expressed in Grant. See, e.g., U.S. ex rel. Michael A. Rehfeldt, Plaintiff, v.
Compassionate Care Hosp. Gr. Inc., No. 5:19-CV-00304-TES, 2021 WL 2229057, at
*5 (M.D. Ga. June 2, 2021); Briggs for use & benefit of United States v. Quantitech,
Inc., No. 2:19-CV-01690-ACA, 2021 WL 461694 (N.D. Ala. Feb. 9, 2021).

                                                14
         A.    The Complaint alleges Dr. Edler engaged in protected activity.

      Dr. Edler met with County leadership to report “protocol violations,

insubordination, falsifying certifications, policy updates, employee files, and the

work environment at public safety.” Compl. ¶ 47. She reported to county

leadership, including to the County Commission, the exact training certification

frauds at issue here. Compl. ¶¶ 49, 51–52, 56–57, 63–64.

      She also attempted to stop the ongoing fraud by reporting these deficiencies

to the Florida Department of Health which has the power to prevent Escambia’s

non-certified employees from serving in a medical capacity. Compl. ¶¶ 61, 65.

Preventing non-certified people from performing emergency medical services

would have terminated the false claims for their work.

         B.    Defendant knew of Dr. Edler’s protected activities.

      Of course, Dr. Edler’s many internal complaints and attempts to stop the

fraud were known by Escambia, but Escambia was also aware of her external

efforts. Compl. ¶¶ 62, 66.

         C.    Defendant retaliated against Dr. Edler.

      The Complaint alleged Escambia began retaliating against Dr. Edler

“immediately after Dr. Edler’s identification of criminal and civil violations.”

Compl. ¶ 67. The harassment escalated from there. ¶¶ 70, 79–81.



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      Defendant’s argument that absent a firing, demotion, or suspension, there

has been no actionable retaliation under the FCA is simply wrong. The statute

prohibits “harassment” and “any other manner [of] discriminat[ion] against in the

terms and conditions of employment[.]” 31 U.S.C. § 3730(h)(1). “An employer

undertakes a materially adverse action opening it to retaliation liability if it does

something that ‘well might have dissuaded a reasonable worker from making or

supporting a charge of discrimination.’” U.S. ex rel. Grant v. United Airlines Inc.,

912 F.3d 190, 203 (4th Cir. 2018).

      The law also provides for the award of “compensation for any special

damages sustained as a result of the discrimination[.]” 31 U.S.C. § 3730(h)(2).

“Damages for emotional distress caused by an employer's retaliatory conduct

plainly fall within this category of special damages.” Hammond v. Northland

Counseling Ctr., Inc., 218 F.3d 886, 893 (8th Cir. 2000) (internal quotation marks

omitted); accord Townsend v. Bayer Corp., 774 F.3d 446, 466–67 (8th Cir. 2014)

(affirming award of emotional distress damages); Webb v. Compath, Inc., No.

5:03CV272-MCR/WCS, 2005 WL 8164786, at *3 (N.D. Fla. May 20, 2005), rep.

and recc. adopted, 2005 WL 8164800 (N.D. Fla. June 21, 2005) (permitting

retaliation damages for “damage to Plaintiff’s personal credit”).




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      Taken together, the allegations and the law make clear that the retaliation

allegations meet the low bar of plausibility.

      If an employee’s actions, as alleged in the complaint, are sufficient to
      support a reasonable conclusion that the employer could have feared
      being reported to the government for fraud or sued in a qui tam action
      by the employee, then the complaint states a claim for retaliatory
      discharge under § 3730(h).

U.S. ex rel. Sanchez v. Lymphatx, Inc., 596 F.3d 1300, 1304 (11th Cir. 2010).

      Defendant’s fear of being sued is palpable in the Complaint and the fear was

well grounded. Besides the financial costs of losing a FCA case, each individual

involved in the falsification of training documents and the provision of substandard

medical care are exposed to substantial personal jeopardy. Already, four of the

individuals responsible for the scheme have been charged with felonies. Stephen

White has pleaded no contest to two misdemeanors for falsifying the exact records

at issue in this case. Exh. 1. In addition, after the Complaint was filed, the Florida

Department of Health took action against the licenses of the individuals

responsible for the frauds at issue here. There can be no doubt that the individuals

responsible for the frauds Dr. Edler uncovered and attempted to stop had the

motivation to act against her to protect not only the county but their own liberty

and financial interests.




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     When viewing the complaint broadly and drawing all reasonable inferences in

Relator’s favor, the retaliation allegations state “enough facts to raise a reasonable

expectation that discovery will reveal evidence of the necessary element[s].” Watts

v. Fla. Int’l Univ., 495 F.3d 1289, 1295–96 (11th Cir. 2007) (quoting Twombly, 550

U.S. at 545).

      V.        The Complaint Meets Rule 9(b)’s Particularity Requirement.

     Defendant argues that the Complaint fails to meet Rule 9(b) ’s particularity

requirement by failing: (A) to allege the false claims’ who, when, and how; (B)

failing to identify specific claims; (C) failing to identify employees who lacked

certificates, and (D) by using “upon information and belief” allegations (iv). ECF

20 at 1, 8–11. Contrary to Defendant’s arguments, the Complaint meets the

pleading standard set out in Rule 9(b).

           A.    The Complaint pleads the who, what, and when.
      The particularity requirement is satisfied where a complaint alleges “facts as

to time, place, and substance of the defendants’ alleged fraud, specifically the

details of the defendants’ allegedly fraudulent acts, when they occurred, and who

engaged in them.” U.S. ex rel. Matheny v. Medco Health Sols., Inc., 671 F.3d 1217,

1222 (11th Cir. 2012).




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      The Complaint lays out Defendant’s false claims in a readily understandable

manner while providing sufficient detail to permit Defendant to formulate a

defense. It alleges:

      • Who: The sole defendant, Escambia County, and detailing activities of
        named management personnel, including those charged with felonies for
        falsifying and forging paramedic and EMT certifications. Complaint ¶¶
        29–72.

      • When: Before 2014 and through the present (¶ 28), and detailing
        incidents in 2014 (¶¶ 29–37), 2016 (¶¶ 38–39), 2017 (¶¶ 40–43, and 64),
        2018 (¶¶ 44–57, and 64), 2019 (¶¶ 58–68), and 2020 (¶¶ 70-73).

      • What/how: Detailing what the County did. ¶¶ 2, 29–72.
          B.   The Complaint need not plead specific claims.

     The Eleventh Circuit has never required a complaint to provide specific false

claims submitted to the government; all it has required is that a complaint contain

“some indicia of reliability” to support the allegation that false claims were

submitted. See U.S. ex rel. Clausen v. Lab. Corp. of Am., 290 F.3d 1301, 1311

(11th Cir. 2002) (cited by Defendant). The relator’s problem in Clausen was not

that he failed to identify specific claims, but that he failed to explain why he

believed such claims were submitted. Id. Indeed, the majority in Clausen criticized

the dissent for suggesting that it was requiring any particular type of information to

satisfy Rule 9(b). Id. at 1312, n.21. Clausen thus expressly rejected the idea that it

was creating a laundry list of details that had to be included to satisfy Rule 9(b). It


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held Rule 9(b) requires the “circumstances constituting fraud or mistake” be

pleaded with particularity, in order to (1) “protect defendants against spurious

charges” and (2) give defendants notice of “the precise misconduct with which

they are charged.” Id. at 1310 (internal quotation marks and alterations omitted).

     Post-Clausen, the Eleventh Circuit refined its analysis of Rule 9(b) as it

relates to False Claims Act (FCA) complaints. And as shown by the cases cited by

Defendant, even where the Eleventh Circuit has dismissed complaints under Rule

9(b), it has reaffirmed that identifying specific false claims is “one way”—but not

the only way—to satisfy 9(b). United States v. HPC Healthcare, Inc., 723 F. App’x

783, 789 (11th Cir. 2018). In HPC Healthcare, the Eleventh Circuit reaffirmed that

relators need only plead “some indicia of reliability” that false claims were

submitted. Id.

      Providing exact billing data—name, date, amount, and services
      rendered—or attaching a representative sample claim is one way a
      complaint can establish the necessary indicia of reliability that a false
      claim was actually submitted. However, there is no per se rule that an
      FCA complaint must provide exact billing data or attach a
      representative sample claim.

      Under this Court’s nuanced, case-by-case approach, other means are
      available to present the required indicia of reliability that a false claim
      was actually submitted. Although there are not bright line rules, our
      case law has indicated that a relator with direct, first-hand knowledge
      of the defendants’ submission of false claims gained through her
      employment with the defendants may have a sufficient basis for
      asserting that the defendants actually submitted false claims.

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United States v. Health Mgmt. Assocs., 591 F. App’x 693, 704 (11th Cir. 2014)

(internal citations omitted) (emphasis added).

     Dr. Edler pleaded more than just “some indicia of reliability” here. She

pleaded direct, first-hand knowledge of Escambia’s false claims and false

statements. ¶¶ 16, 27, 28, 75.

     Further, she alleged Medicare pays Escambia County approximately $4.6

million per year for Escambia’s emergency transportation services). Complaint,

¶¶ 76–78 (alleging CMS public data). See U.S. ex rel. Bingham v. BayCare Health

Sys., No. 8:14-cv-73-T-23EAJ, 2015 U.S. Dist. LEXIS 107220, at *12 (M.D. Fla.

Aug. 14, 2015) (denying motion to dismiss where “the relator relies on information

from the Centers for Medicare & Medicaid Services to allege that BayCare

submitted claims . . . .”).

     Detailed allegations regarding individual claims are not relevant to the

circumstances here because the claims are tainted by external facts: EMTs and

paramedics’ legally mandated certifications (or lack thereof). “A plaintiff must

satisfy Rule 9(b) with respect to the circumstances of the fraud he alleges—but not

as to matters that have no relevance to the fraudulent acts.” HMA, 591 Fed. App’x

at 708–09 (emphasis added). See also U.S. ex rel. Atkins v. McInteer, 470 F.3d 1350,



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1358 (11th Cir. 2006) (“there is no per se rule that a [False Claims Act] complaint

must provide exact billing data or attach a representative sample claim.”).

     This makes sense because Medicare claims filed by ambulance providers

identify the provider (such as Escambia), the service date, the claim code, e.g.

A0427 (emergency ambulance transportation with advanced life support), the

amount it seeks, and certifies compliance with Medicare’s rules and regulations.

But the claims do not identify employees who staff the ambulances.12

     The Complaint alleges these certifications are false because Escambia created

fraudulent documents attesting to training and certifications that never occurred.

Complaint, ¶¶ 47–52, 56, 63–64, 72. Defendant is on notice of the nature of the

fraud allegations against it without individualized claims data and that data would

not materially enhance the pleading of the “circumstances of the fraud.” HMA, 591

Fed. App’x at 708–09; U.S. ex rel. Kunz v. Halifax Hosp. Med. Ctr., 2011 U.S. Dist.

LEXIS 59949, 2011 WL 2269968, at *8 (M.D. Fla. June 6, 2011) (Persnell, J.)

(“Rule 9(b) exists to prevent spurious charges and provide notice to defendants of

their alleged misconduct, not to require plaintiffs to meet a summary judgment

standard before proceeding to discovery.”).

12
      CTRS. FOR MEDICARE & MEDICAID SERVS., Sample Health Insurance Claim
Form, CMS.gov, available at https://www.cms.gov/Medicare/CMS-Forms/CMS-
Forms/Downloads/CMS1500.pdf (last visited June 14, 2021).

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          C.   “On information and belief” allegations are acceptable.

      “Rule 9(b)’s heightened pleading standard may be applied less stringently . .

. when specific ‘factual information [about the fraud] is peculiarly within the

defendant’s knowledge or control.’” U.S. ex rel. Hill v. Morehouse Med. Assocs.,

Inc., No. 02-14429, 2003 WL 22019936, at *3 (11th Cir. Aug. 15, 2003) (allowing

pleading based upon “information and belief” despite failure to identify a specific

false claim). See also U.S. ex rel. Clausen v. Lab. Corp. of Am., 290 F.3d 1301,

1314 n.25 (11th Cir. 2002) (recognizing “a more lenient pleading standard” is

appropriate under Rule 9(b) when “evidence of fraud [i]s uniquely held by the

defendant” provided that “the complaint . . . set[s] forth a factual basis for such

belief”) (internal quotation omitted).

      Here, the information Defendant complains was not pleaded is “peculiarly

within the defendant’s knowledge or control.” Hill v. Morehouse Med. Assocs.,

2003 WL 22019936, at *3. Even the State of Florida asserts that it is beyond a

reasonable doubt that Escambia concealed, covered up, destroyed, mutilated, and

altered the true records.

      Florida arrested four officials of the County’s Emergency Management

senior management for falsifying EMT/paramedic certification. Compl. at ¶ 72.

Public arrest records include the sworn affidavits of an FDLE investigator and a



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state judge’s approval.13 The below chart summarizes these charges that plausibly

support the “information and belief” allegations and show the information is

“peculiarly within the defendant’s knowledge or control.”

                                                   Captain in   Section Chief    Deputy     Chief EMS
                                                   Charge of    / paramedic      Chief of     Ops.,
           Criminal Charges (Exh. 2)                Training,    supervisor,    EMS Ops.,    White 14
                                                    Bonoyer        Kenney         Salter
 Conceal information re medical                         1             1
 transportation, Fla. Stat. 401.41(1)(c)
 Official misconduct re false or fraudulent
 claims to procure or renew a certificate, Fla.         1            3             2           2
 Stat. 401.41(1)(d)
 False statements, certifications, Fla. Stat                                       2
 403.161(1)(c)
 Forgery, Fla. Stat 831.01 or .02                       19           5             3           6
 Public servant falsify official documents, Fla.        22           5             3           8
 Stat. 838.022(1)(a)
 Concealing, covering up, destroying,
 mutilating, or altering any official record or         1                                      6
 official document, Fla. Stat. 838.022(1)(b)
 Obstruct, delay comm. involving govt. entity,          1            1
 Fla. Stat. 838.022(1)(c)
 Racketeering, Fla. Stat. 895.03                                     1                         1




13
       A court considering a Rule 12(b)(6) motion may take judicial notice of
adjudicative facts that can be accurately and readily determined from sources
whose accuracy cannot reasonably be questioned. Fed. R. Evid. 201(a)–(b). See
Profit v. Rabon, No. 1:19-cv-129-MW-GRJ, 2020 U.S. Dist. LEXIS 24794, at *1
n.1 (N.D. Fla. Jan. 9, 2020) (taking judicial notice of available public record
pertaining to pending state charges).
14
      Mr. White has since pled no contest to “Knowingly mak[ing] false or
fraudulent claims to procure, attempt to procure, or renew a certificate, license, or
permit. Fla. Stat. 401.41(1d).” Exh. 1. The others’ cases are still pending. Exh. 2.

                                                   24
      Most of the charges involve § 838.022(1), hiding the alleged certification frauds.

                                  Official Misconduct
       (a) Falsifying, or causing another person to falsify, any official record
       or official document;
       (b) Concealing, covering up, destroying, mutilating, or altering any
       official record or official document, except as authorized by law or
       contract, or causing another person to perform such an act;
       (c) Obstructing, delaying, or preventing the communication of
       information relating to the commission of a felony that directly involves
       or affects the government entity served by the public servant or public
       contractor.
Fla. Stat. § 838.022(1) (emphasis supplied).

      The Chapter 401 Medical Transportation charges are especially relevant

because Florida requires ambulances staffed by “certified” personnel. Fla. Stat. §

401.27(1). See 42 C.F.R. § 410.41(b) (requiring state-certified staff).

         D.    Identity of EMTs and paramedics are unnecessary for Rule 9(b).

     It is unfortunate that the parties and this Court must spend time on an issue

not really in dispute in this case—the identity of personnel whose false EMT and

paramedic certifications tainted Defendant’s Medicare claims. The information

may be useful to calculate damages, but it is unnecessary to alert the County of the

circumstances of its frauds.

     Further, county officials have been charged with not only forging and

falsifying certification-related documents, but also concealing these records and




                                              25
documents. Defendant’s demand for the names it actively concealed is precisely

the “impossible” information the Clausen court warned against. )

      The dissent suggests we ask for all of this information, and thus “ask[]
      for the impossible.” To the contrary, this discussion merely lists some
      of the types of information that might have helped Clausen state an
      essential element of his claim with particularity but does not mandate
      all of this information for any of the alleged claims.

U.S. ex rel. Clausen v. Lab. Corp. of Am., 290 F.3d 1301, 1312 n.21 (11th Cir. 2002).

     As the case progresses, Defendant will doubtlessly assert factual defenses.

One thing the Court can be certain of, however, is that Defendant will not assert, as

a factual matter, that it never submitted claims to Medicare, or that all employees

who provided services relating to these claims were properly certified. In fact, it

cannot, as the (former) Chief of EMS Operations has already pleaded no contest to

charges of falsifying these very certifications. Exh. 1.

          E.   Rule 9(b) requires an “indicia of reliability,” not claims.
     The ultimate question is whether a relator’s allegations are “sufficient to

explain why [the relator] believed [the defendant] submitted false or fraudulent

claims for services rendered.” U.S. ex rel. Walker v. R & F Props. of Lake County,

Inc., 433 F.3d 1349, 1360 (11th Cir. 2005). In Walker, the Eleventh Circuit upheld

a complaint because it explained why the relator—an insider nurse—believed

claims were submitted, even though she did not identify any particular claims. Id.



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Walker, like the unpublished Hill15 and HMA16 decisions, was perfectly consistent

with the prior Clausen decision, which recognized that a complaint could be

upheld if it provided sufficient indicia of reliability supporting the allegation that

false claims were submitted. Walker, 433 F.3d at 1360. Here, the Complaint more

than sufficiently explains why insider Dr. Edler asserts that false claims were

submitted: the required training was not done, the required certifications were

falsified, and Medicare nevertheless paid millions of dollars for non-compensable

services. See e.g., Compl. ¶¶ 27, 37, 39, 43, 48, 50-52, 56-57, 63-64, 72, 76-78.

      VI.    If necessary, Relator will move for leave to amend.

     If the Court finds the Complaint deficient, Plaintiff should be allowed to

move for leave to amend. Bryant v. Dupree, 252 F. 3d 1161, 1163 (11th Cir. 2001)

(directing that leave to amend shall be freely given when justice so requires); see

also Bailey v. Janssen Pharmaceutica, Inc., 288 F. App’x 597, 603 (11th Cir. 2008)

(holding striking a complaint and requiring a more definite statement and not

dismissal is the proper remedy for an impermissible shotgun complaint).


15
       U.S. ex rel. Hill v. Morehouse Med. Assocs., No. 02-14429, 2003 U.S. App.
LEXIS 27956, at *13, (11th .Cir. Aug. 15, 2003) (relaxing 9(b) standard where
details are in documents “exclusively within the defendant’s possession.”).
16
      United States v. Health Mgmt. Assocs., 591 F. App’x 693, 704 (holding 9(b)
pleading standard does not apply to “matters that have no relevance to the
fraudulent acts.”).

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         Any proposed First Amended Complaint attached to a motion for leave to

amend would add the below organizational and factual details:

     •    Public Disclosure: Detail Dr. Edler’s prefiling communications with Michael
          Biasello of this district’s U.S. attorney’s office around February 2020.
          Regarding any “publicly disclosed allegations or transactions” identified by
          this Court, that she “materially adds” to those disclosures by providing key
          insider information about the timing and operation of Defendant’s fraud,
          persons involved, steps taken to conceal the fraud, and documents which
          reveal the truth.17

     • Shotgun pleadings: Break each cause of action into a separate heading with
       additional factual references and allegations.

     • Particularity: Additional details regarding the actions of Wood, Salter,
       Kenney, Bonoyer and the documents and training events they falsified,.

     • Retaliation: Further detail Escambia’s retaliatory acts including:

             o Treating Dr. Edler differently than similarly situated employees when
               it comes to providing legal defense and expense coverage and
               providing appropriate transportation.
             o Meritless “harassment” charges and other retaliatory HR actions such
               as changing Dr. Edler’s working conditions, required hours, and
               responsibilities.
             o Coordination between Escambia leadership and personnel with private
               citizens for the purpose of harassing Dr. Edler in public forums.
             o Escambia’s pending termination of Dr. Edler.




17
    The Florida Department of Law Enforcement and a state court judge appear to
agree that Dr. Edler possesses key non-public information about Defendant’s
frauds. Her knowledge forms a component of the arrest affidavits/warrants
detailing Escambia’s employees’ roles in the very frauds at issue here.

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     • Knowledge: Allegations that Escambia overlooked training/certification
       deficiencies because it operated emergency services for the revenue.18


        VII. Conclusion

        Escambia cannot credibly claim it is not aware of the nature of Relator’s

claims. To its credit, it hardly attempts to so argue. Rather, it identifies purported

technical deficiencies—and says that Federal Rules require more.

        But the overarching question is not whether any particular piece of

information is or is not present; rather, the question for the Court is whether there

is enough information in the Complaint to put Escambia on notice of the nature of

plausible allegations against it. That answer, in short, is “yes.”




18
       Commissioner Jeff Bergosh explained why the County runs emergency
services itself, rather than a private contractor: “It’s an enterprise fund for us.” He
then repeated three times in the next minute: “It generates revenue for us,” and
then summarized: “Our guys should be doing it because it generates revenue.”
ECTV, Oct. 15, 2020 BCC Regular Meeting, at 16:30–17:30 (Oct. 15, 2020),
https://escambiacountyfl.new.swagit.com/videos/87252.

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                                       Respectfully submitted,

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                          LR 7.1 (F) Certificate of Word Count
      I certify the LR 7.1 (F) word count of 7,699 words, and I relied on MS
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                                       /s/ Jonathan Kroner

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